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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  WINDY LUCIUS,

          Plaintiff,

  v.

  SF AVENTURA 55, LLC d/b/a
  SUGAR FACTORY AMERICAN BRASSERIE,

          Defendant.
                                                                  /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff Windy Lucius (“Plaintiff”) hereby sues the Defendant, SF Aventura 55 LLC d/b/a

  Sugar Factory American Brasserie (“Defendant”), a foreign profit corporation doing business in

  Florida, for Injunctive Relief, attorney’s fees, litigation expenses and costs pursuant to Title III of

  the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12181-12189 (“ADA”),

  28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendant’s violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff is a Florida resident, lives in Miami-Dade County, is sui juris, and qualifies

  as an individual with disabilities as defined by the ADA. Plaintiff is legally blind and a member
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  of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the regulations implementing the

  ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff is

  substantially limited in the major life activity of seeing. Plaintiff’s disability is defined in 28 C.F.R.

  §36.105(b)(2).

          4.       Plaintiff is blind. She uses the internet and a mobile device to help her navigate a

  world of goods, products and services like the sighted. The internet, websites and mobile

  applications provide her a window into the world that she would not otherwise have. She brings

  this action against Defendant for offering and maintaining a mobile website (software that is

  intended to run on mobile devises such as phones or tablet computers) that is not fully accessible

  and independently usable by visually impaired consumers. Plaintiff utilizes the Apple Screen

  Reader VoiceOver software to read computer materials and/or access and comprehend internet

  mobile website information which is specifically designed for the visually impaired.

          5.       Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their mobile websites are in compliance with the

  ADA.

          6.       Defendant owns and operates a place of public accommodation which is a specialty

  restaurant branded as “Sugar Factory American Brasserie.” The Sugar Factory American Brasserie

  restaurant is located within Miami-Dade County at 19575 Biscayne Blvd #783, Aventura, FL

  33180 and is open to the public. As such, it is a Place of Public Accommodation subject to the

  requirements of Title III of the ADA and its implementing regulation as defined by 42 U.S.C.

  §12181(7)(B), §12182, and 28 C.F.R. §36.104(2). The Sugar Factory restaurant is also referenced

  throughout as “place(s) of public accommodation,” “The Sugar Factory,” or “restaurant.”




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           7.       Defendant is defined as a “Public Accommodation” within meaning of Title III

  because Defendant is a private entity which owns and/or operates “[A] restaurant, bar, or other

  establishment serving food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

           8.       Subsequent to the effective date of the ADA, Defendant constructed, or caused to be

  constructed, the https://sugarfactory.com/ mobile website (hereinafter “mobile website”) for the

  general public to access on their mobile devices (phones, tablets). This mobile website supports,

  is an extension of, is in conjunction with, is complementary and supplemental to, Defendant’s

  Sugar Factory restaurant. The mobile website delineates the goods, services, accommodations,

  privileges, benefits and facilities available to patrons at the restaurant’s physical location.

           9.       The mobile website is offered by Defendant as a way for the public to become

  familiar with the Sugar Factory menu selections available for purchase at the physical location, as

  well as information on hours of operation, restaurant location, provides a link (OpenTable) to

  reserve a table for dining within the restaurant, sign up for the restaurant’s candy club, to purchase

  Couture Pops, various trinkets, and gift cards online, and provides other information the Defendant

  seeks to communicate to the public. The mobile website also enables the public/patrons to research

  a party package, read about endorsing celebrities or their blog. By the provision of menu selection

  and reservation services, the mobile website is an integral part of the goods and services offered

  by Defendant.        By this nexus, the mobile website is characterized as a Place of Public

  Accommodation to Title III of the ADA1, 42 U.S.C. § 12181(7)(B).

           10.      Defendant’s mobile website allows mobile device users to use a mobile platform


  1
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.


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  through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

  their mobile device. As such, it has subjected itself to the ADA because its mobile website is

  offered as a tool to promote, advertise and sell its products and services from its brick-and-mortar

  restaurant location which is a place of public accommodation. As a result, Defendant’s mobile

  website must interact with its restaurant and the public, and in doing so must comply with the

  ADA, which means it must not discriminate against individuals with disabilities and may not deny

  full and equal enjoyment of the goods and services afforded to the general public. 2

          11.      Defendant’s mobile website does not properly interact with the VoiceOver screen

  reader software technology in a manner that allows blind and visually impaired individuals to

  comprehend the mobile website and does not provide other means to accommodate blind and

  visually impaired individuals.

          12.      Plaintiff has attempted to patronize Defendant’s mobile website in the past and

  intends to continue to make further attempts to patronize Defendant’s mobile website and/or test

  the website for accessibility for persons who are blind or low sighted. Like the seeing community,

  she would like the opportunity to be able to use the Defendant’s mobile website to comprehend

  the restaurant menu selections, make reservations to dine in the Sugar Factory restaurant, order

  gift cards, and order gifts. However, unless Defendant is required to eliminate the access barriers

  at issue and required to change its policies so that access barriers do not reoccur, Plaintiff will

  continue to be denied full and equal access to the mobile website as described and will be deterred

  from fully using Defendant’s mobile website or dining at Defendant’s restaurant in Aventura,

  Florida.



  2
   According to Statista, almost half of web traffic in the United States originated from mobile devices in 2021.
  Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
  website and provided accessibility for blind users.


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          13.     Plaintiff has attempted to utilize the mobile website and/or plans to continue to

  attempt to utilize the mobile website in the near future. In the alternative, Plaintiff intends to monitor

  the mobile website in the near future, as a tester, to ascertain whether it has been updated to interact

  properly with VoiceOver screen reader software.

          14.     Plaintiff is continuously aware of the violations on Defendant’s mobile website and

  is aware that it would be a futile gesture to attempt to utilize the mobile website as long as those

  violations exist unless she is willing to suffer additional discrimination.

          15.     Defendant and alike restaurants are fully aware of need to provide full access to all

  visitors to its mobile website as such barriers result in discriminatory and unequal treatment of

  individuals with disabilities who are visually impaired and result in punishment and isolation of

  blind and low vision individuals from the rest of society.

          16.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is her only means to secure adequate redress from Defendant’s

  discriminatory practice.

          17.     Notice to Defendant is not required as a result of Defendant’s failure to cure the

  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          18.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendant pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                     COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          19.     The ADA and implementation of ADAAG requires that Public Accommodations




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  (and Places of Public Accommodation) are required to ensure that communication is effective,

  which includes the provision of auxiliary aids and services for such purpose.

         20.     According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

  making visually delivered material available to individuals who are blind or have low vision.

         21.     28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect

  the privacy and independence of the individual with a disability.”

         22.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         23.     Defendant’s mobile website has been designed to integrate with its Sugar Factory

  brick-and-mortar restaurant through provision of a reservation service and the the e-commerce

  functionality. Therefore, the mobile website is an extension of Defendant’s Place of Public

  Accommodation. By and through its mobile website, Defendant extends its Place of Public

  Accommodation into individual persons’ homes and portable devices wherever located. The

  mobile website is a service, facility, privilege, advantage, benefit and accommodation of

  Defendant’s Place of Public Accommodation. As such, Defendant’s mobile website is integrated

  with, and is a nexus to, its brick-and-mortar location. Therefore, it is governed by the following




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  provisions:

                 a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                 d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory to

  provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                 e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,




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  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.       42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.       42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                  h.       42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps

  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

          24.     Plaintiff attempted to access and/or utilize Defendant’s mobile website, but was

  unable to, and she continues to be unable to enjoy full and equal access to the mobile website

  and/or understand the content therein because numerous portions of the mobile website do not

  interface with VoiceOver screen reader software. Specifically, features of the mobile website that

  are inaccessible to VoiceOver screen reader software users include, but are not limited to, the




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  following (citing the WCAG 2.1 Level A and AA Guidelines):

     i.   Guideline 1.1.1 Non-Text Content. Mobile SRU’s (screen reader users) will have difficulty
          reading the ‘Party menu’ PDF due to the number of unlabeled images. There are multiple
          unlabeled images announced on the first three pages, but some users may not be able to
          proceed to pages 4-13 due to the number of unlabeled images at the bottom of page 3. In
          order to access page 4, users have to swipe approximately 67 times after the last menu
          item was announced on page 3. Users only heard “image” with each swipe.

    ii.   Guideline 1.3.1 Info and Relationships. The ‘Full menu’ PDF is not accessible to mobile
          SRU’s. After opening this PDF, users swiped over 100 times, but focus did not move to
          the onscreen text content. Focus first skips randomly to the images on page 1 and then
          focus moves to each drink on page 2, but they’re announced to mobile users as only
          “image.”

   iii.   Guideline 1.3.2 Meaningful Sequences. Mobile SRU’s are able to expand the ‘Show Order
          Summary’ of the cart, but the contents in the new section are not announced. This includes
          the price, discount code field, product quantity, etc. Focus skips over the summary section
          and jumps to the breadcrumbs at the bottom of the page.

   iv.    Guideline 1.4.5 Images of Text. Six images with text are shown in the carousel at the top
          of the homepage. Each image contains text to describe a promo or a new opening, but none
          of the images nor the content in the images are announced to mobile SRUs. Mobile SRU’s
          can only hear the carousel control buttons.

    v.    Guideline 2.4.3 Focus Order. After an item is added to the cart, then a popup is shown
          with the price, product details and a checkout button, but focus does not move into the
          popup so SRUs do not hear that the item was added, and they cannot access the cart content
          or checkout.

   vi.    Guideline 4.1.2 Name, Role, Value. A date picker is displayed when a mobile SRU
          navigates to the ‘event date’ field in the party planning form, but it doesn’t receive focus
          and is not announced. A blind user must manually enter a date whereas other user can tap
          a date on the calendar.

          25.    As the owner and/or operator of the Sugar Factory restaurant mobile website,

  Defendant is required to comply with the ADA and the provisions cited above. This includes

  Defendant’s obligation to create and maintain a mobile website that is accessible to and usable by

  visually impaired persons so that they can enjoy full and equal access to the mobile website and

  the content therein, including the ability to make a reservation to dine within the Sugar Factory

  restaurant.



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          26.     With respect to its mobile website, Defendant has violated the ADA by failing to

   interface its mobile website with VoiceOver screen reader software utilized by visually impaired

   individuals (as specifically delineated within paragraph 24) either directly or through contractual,

   licensing or other arrangements. Defendant’s violations have resulted in Defendant denying

   Plaintiff accommodation on the basis of her disability:

                  a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

   facilities, privileges, advantages, or accommodations of its place of public accommodation (42

   U.S.C. § 12182(a));

                  b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

   from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

   12182(b)(1)(A)(i));

                  c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

   other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                  d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

   accommodation that is different or separate from that provided to other individuals (unless

   such action is necessary to provide the individual or class of individuals with a good, service,

   facility, privilege, advantage, or accommodation, or other opportunity that is as effective as that

   provided to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                  e.      by failing to afford Plaintiff goods, services, facilities, privileges,

   advantages, and accommodations in the most integrated setting appropriate to the needs of the

   disabled individual (42 U.S.C. § 12182(b)(1)(B));

                  f.      notwithstanding the existence of separate or different programs or activities




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   provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

   programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));

                  g.      by a failure to make reasonable modifications in policies, practices, or

   procedures, when such modifications are necessary to afford such goods, services, facilities,

   privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

   demonstrate that making such modifications would fundamentally alter the nature of such goods,

   services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                  h.      by a failure to take such steps as may be necessary to ensure that disabled

   individuals are not excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

   that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

   advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

   12182(b)(2)(iii)).

          27.     Plaintiff continues to attempt to utilize the mobile website and/or plans to continue

   to attempt to utilize the mobile website to test accessibility, to review the menu, to make online

   reservations for dining within the restaurant, or order gift cards or gifts.

          28.     Plaintiff is continuously aware of the violations within Defendant’s mobile website

   and is aware that it would be a futile gesture to attempt to utilize the mobile website as long as

   those violations exist unless she is willing to suffer additional discrimination.

          29.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the

   result of the discriminatory conditions present within Defendant’s mobile website. By continuing

   to operate its mobile website with discriminatory conditions, Defendant contributes to Plaintiff’s

   sense of isolation and segregation and deprives Plaintiff the full and equal enjoyment of the goods,




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   services, facilities, privileges and/or accommodations available to the general public. By

   encountering the discriminatory conditions within Defendant’s mobile website and knowing that

   it would be a futile gesture to attempt to utilize the mobile website unless she is willing to endure

   additional discrimination, Plaintiff is deprived of the meaningful choice of freely visiting and

   utilizing the same accommodations readily available to the general public and is deterred and

   discouraged from doing so. By maintaining a mobile website with violations, Defendant deprives

   Plaintiff the equality of opportunity offered to the general public.

             30.   Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a result

   of Defendant’s discrimination until Defendant is compelled to comply with the requirements of the

   ADA and conform its mobile website to WCAG 2.1 Level A and AA Guidelines.

             31.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

   from Defendant’s non-compliance with the ADA with respect to its mobile website. Plaintiff has

   reasonable grounds to believe that she will continue to be subjected to discrimination in violation

   of the ADA by Defendant. Plaintiff desires to access the mobile website to avail herself of the

   benefits, advantages, goods and services therein, and/or to assure herself that this mobile website is

   in compliance with the ADA so that she and others similarly situated will have full and equal

   enjoyment of the mobile website without fear of discrimination.

             32.   Plaintiff is without adequate remedy at law and has suffered (and will continue to

   suffer) irreparable harm. The Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein.

             33.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require Defendant to alter its mobile website to make it




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   readily accessible to and usable by Plaintiff and other persons with vision impairments.

           WHEREFORE, Plaintiff Windy Lucius hereby demands judgment against Defendant SF

   Aventura 55 LLC d/b/a Sugar Factory American Brasserie and requests the following injunctive and

   declaratory relief:

           a.      The Court issue a Declaratory Judgment that determines that Defendant’s mobile

                   website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                   § 12181 et seq.;

           b.      The Court issue a Declaratory Judgment that Defendant has violated the ADA by

                   failing to monitor and maintain its mobile website to ensure that it is readily

                   accessible to and usable by persons with vision impairment;

           c.      The Court issue an Order directing Defendant to alter its mobile website to make it

                   accessible to, and useable by, individuals with disabilities to the full extent required

                   by Title III of the ADA;

           d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                   such that individuals with visual impairments will be able to effectively

                   communicate with the mobile website for purposes of comprehending Defendant’s

                   Sugar Factory menu selections, ordering/paying for gift cards, and making

                   reservations, and during that time period prior to the mobile website’s being

                   designed to permit individuals with visual impairments to effectively communicate,

                   requiring Defendant to provide an alternative method for individuals with visual

                   impairments to effectively communicate so that disabled individuals are not

                   impeded from obtaining the goods and services made available to the public

                   through Defendant’s mobile website.




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          e.     The Court enter an Order directing Defendant to evaluate and neutralize its policies

                 and procedures towards persons with disabilities for such reasonable time so as to

                 allow Defendant to undertake and complete corrective procedures;

          f.     The Court enter an Order directing Defendant to continually update and maintain

                 its mobile website to ensure that it remains fully accessible to and usable by visually

                 impaired individuals;

          g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

                 U.S.C. § 12205; and,

          h.     The Court provide such other relief as the Court deems just and proper, and/or is

                 allowable under Title III of the Americans with Disabilities Act.


   Dated: February 22, 2022
                                                Respectfully submitted,

                                                /s/ J. Courtney Cunningham
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